Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 1 of 55




                               EXHIBIT Y
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 2 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 3 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 4 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 5 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 6 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 7 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 8 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 9 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 10 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 11 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 12 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 13 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 14 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 15 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 16 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 17 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 18 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 19 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 20 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 21 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 22 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 23 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 24 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 25 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 26 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 27 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 28 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 29 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 30 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 31 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 32 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 33 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 34 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 35 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 36 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 37 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 38 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 39 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 40 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 41 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 42 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 43 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 44 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 45 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 46 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 47 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 48 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 49 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 50 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 51 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 52 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 53 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 54 of 55
Case 21-03000-sgj Doc 13-25 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 55 of 55
